                                                                                Case 3:14-cr-00175-WHA Document 952 Filed 12/05/18 Page 1 of 1



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                                                                          5                               IN THE UNITED STATES DISTRICT COURT
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                                                                                                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                                          8
                                                                          9   UNITED STATES OF AMERICA,
                                                                         10                                                                No. CR 14-00175 WHA
                                                                                             Plaintiff,
                                                                         11
United States District Court




                                                                                v.                                                         INVITATION FOR
                                                                                                                                           CALIFORNIA ATTORNEY
                               For the Northern District of California




                                                                         12   PACIFIC GAS AND ELECTRIC                                     GENERAL TO FILE
                                                                         13   COMPANY,                                                     AMICUS BRIEF

                                                                         14                  Defendant.
                                                                                                                         /
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                                                                         16          A notice dated November 27, 2018, directed the parties to submit written answers

                                                                         17   explaining, among other things, what requirements of the judgment herein might be implicated

                                                                         18   were any recent California wildfire started by reckless operation or maintenance of PG&E

                                                                         19   power lines (Dkt. No. 951). The Court requests that the Office of the California Attorney

                                                                         20   General advise the Court of its view on one aspect of this question, namely, the extent to which,

                                                                         21   if at all, the reckless operation or maintenance of PG&E power lines would constitute a crime

                                                                         22   under California law. The Court would appreciate receiving an amicus brief on this issue by

                                                                         23   DECEMBER 31.

                                                                         24          The Deputy Clerk shall serve this order on the Office of the Attorney General at 455

                                                                         25   Golden Gate Avenue, Suite 11000, San Francisco, California 94102.

                                                                         26
                                                                         27   Dated: December 5, 2018.
                                                                                                                                      WILLIAM ALSUP
                                                                         28                                                           UNITED STATES DISTRICT JUDGE
